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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X              4/1/2021
MICHAEL DARDASHTIAN, et al.,                                   :
                                                               :    17-CV-4327 (LLS) (RWL)
                                    Plaintiffs,                :
                                                               :    ORDER
                  - against -                                  :
                                                               :
DAVID GITMAN, et al.,                                          :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        As the District Court Judge has adopted this Court’s Report and Recommendation

and has referred to me the determination of the Purchase Price, the Court will hold a short

hearing (in no event longer than three hours), conducted virtually, at which Defendants

may cross-examine (and Plaintiffs may re-direct) in regard to the expert declaration

already accepted by the Court. My Deputy Clerk will coordinate scheduling with counsel.

With respect to the two counterclaim issues remaining after summary judgment, the

parties shall adhere to Judge Stanton’s rules for further proceedings.

                                                     SO ORDERED.



                                                     _________________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated: April 1, 2021
       New York, New York

Copies transmitted this date to all counsel of record.
